                    Case 4:22-cv-00341-RH-MAF Document 4 Filed 09/22/22 Page 1 of 6

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                       NorthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida

 BRITNEY DENTON, NYABI STEVENS, DEIDRICK                             )
      DANSBY, FAYERACHEL PETERSON,                                   )
     ALEXANDER HARRIS, and JOHN DOE                                  )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                            Civil Action No. 4:22-cv-00341-RH-MAF
                                                                     )
 THE BOARD OF GOVERNORS FOR THE STATE                                )
 UNIVERSITY SYSTEM OF FLORIDA, MARSHALL                              )
  M. CRISER III, and THE STATE OF FLORIDA
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) The Board of Governors for the State University System of Florida
                                           325 West Gaines Street, Suite 1614
                                           Tallahassee, Florida 32399-0400




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Barbara J. Hart, Esq.
                                           GRANT & EISENHOFER P.A.
                                           485 Lexington Avenue, 29th Floor
                                           New York, NY 10017



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
                     Case 4:22-cv-00341-RH-MAF Document 4 Filed 09/22/22 Page 2 of 6

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 4:22-cv-00341-RH-MAF

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                    Case 4:22-cv-00341-RH-MAF Document 4 Filed 09/22/22 Page 3 of 6

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                       NorthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida

 BRITNEY DENTON, NYABI STEVENS, DEIDRICK                              )
      DANSBY, FAYERACHEL PETERSON,                                    )
     ALEXANDER HARRIS, and JOHN DOE                                   )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                              Civil Action No. 4:22-cv-00341-RH-MAF
                                                                      )
 THE BOARD OF GOVERNORS FOR THE STATE                                 )
 UNIVERSITY SYSTEM OF FLORIDA, MARSHALL                               )
  M. CRISER III, and THE STATE OF FLORIDA
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Marshall M. Criser III, Chancellor
                                           State University System of Florida
                                           325 W. Gaines Street, Suite 1614
                                           Tallahassee, FL 32399




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Barbara J. Hart, Esq.
                                           GRANT & EISENHOFER P.A.
                                           485 Lexington Avenue, 29th Floor
                                           New York, NY 10017



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                  CLERK OF COURT


Date:
                                                                                            Signature of Clerk or Deputy Clerk
                     Case 4:22-cv-00341-RH-MAF Document 4 Filed 09/22/22 Page 4 of 6

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 4:22-cv-00341-RH-MAF

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                    Case 4:22-cv-00341-RH-MAF Document 4 Filed 09/22/22 Page 5 of 6

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                       NorthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida

 BRITNEY DENTON, NYABI STEVENS, DEIDRICK                             )
      DANSBY, FAYERACHEL PETERSON,                                   )
     ALEXANDER HARRIS, and JOHN DOE                                  )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                            Civil Action No. 4:22-cv-00341-RH-MAF
                                                                     )
 THE BOARD OF GOVERNORS FOR THE STATE                                )
 UNIVERSITY SYSTEM OF FLORIDA, MARSHALL                              )
  M. CRISER III, and THE STATE OF FLORIDA
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) The State of Florida
                                           c/o State Attorney's Office
                                           Leon County Courthouse
                                           301 South Monroe Street, Suite 475
                                           Tallahassee, Florida 32301




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Barbara J. Hart, Esq.
                                           GRANT & EISENHOFER P.A.
                                           485 Lexington Avenue, 29th Floor
                                           New York, NY 10017



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
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                                                                                CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
                     Case 4:22-cv-00341-RH-MAF Document 4 Filed 09/22/22 Page 6 of 6

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 4:22-cv-00341-RH-MAF

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
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           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
